AO 2458       (Rev. 09/11) Judgment in a Criminal Case
              Sheet 1 Case 4:13-cr-00224-BSM                    Document 82           Filed 03/04/15          Page 1 of 6


                                        UNITED STATES DISTRICT COURT                                                     MAR - 4 2015
                                                                                                             JAMES
                                                           Eastern District of Arkansas
                                                                                                  By:_--++.b"-+-J.-..Jl-l----
                                                                       )
              UNITED STATES OF AMERICA                                 )      JUDGMENT IN A CRIMINAL CASE
                                v.                                     )
              WILLIAM FRANKLIN THOMPSON                                )
                                                                       )
                                                                              Case Number: 4:13CR00224-01 BSM
                                                                       )      USM Number: 27954-009
                                                                       )
                                                                       )       Jeffrey Rosenzweig
                                                                                 Defendant's Attorney
THE DEFENDANT:
ii{pleaded guilty to count(s)        1 of the Indictment

D pleaded nolo contendere to count(s)
  which was accepted by the court.
D was found guilty on count(s)
  after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                 Nature of Offense                                                          Offense Ended
21 USC § 846,                    Conspiracy to Possess with Intent to Distribute and to

 21 USC§ 841(b)(1)(C)             Distribute Oxycodone, a Class C Felony

 and 21 USC § 841 (a)(1)                                                                                     1/30/2013

       The defendant is sentenced as provided in pages 2 through           __6___ of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
D The defendant has been found not guilty on count(s)
!ifcount(s)     2                                       litis     D are dismissed on the motion of the United States.
         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defenaant must notify the court and United States attorney of material changes in economic circumstances.

                                                                           2/27/2015
                                                                          Date of Imposition of Judgment




                                                                          Signature of Judge




                                                                           Brian S. Miller                              U. S. District Judge
                                                                                                                                        -=----
                                                                          Name and Title of Judge




                                                                          Date
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AO 2458       (Rev. 09/11) Judgment in Criminal Case
              Sheet 2 - Impnsonment

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DEFENDANT: WILLIAM FRANKLIN THOMPSON
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                                                            IMPRISONMENT

         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of:
 SIXTY (60) MONTHS




    iZf' The court makes the following recommendations to the Bureau of Prisons:
 Thompson shall participate in residential substance abuse treatment, mental health counseling, and educational and
 vocational programs during incarceration.


    iZf' The defendant is remanded to the custody of the United States Marshal.
    D The defendant shall surrender to the United States Marshal for this district:
          D at                                               D p.m.      on

          D as notified by the United States Marshal.

    D The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
          D before 2 p.m. on
          0     as notified by the United States Marshal.

          D as notified by the Probation or Pretrial Services Office.


                                                                RETURN
I have executed this judgment as follows:




          Defendant delivered on                                                      to

 a _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy of this judgment.



                                                                                               UNITED STATES MARSHAL



                                                                        By
                                                                                           DEPUTY UNITED STATES MARSHAL
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              Sheet 3 - Supervised Release
                                                                                                            Judgment-Page _ __      of
DEFENDANT: WILLIAM FRANKLIN THOMPSON
CASE NUMBER: 4:13CR00224-01 BSM
                                                         SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of :
 THREE (3) YEARS

        The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons.
The defendant shall not commit another federal, state or local crime.
The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter, as determined by the court.
D        The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
         future substance abuse. (Check, if applicable.)

         The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable)

         The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)

         The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et seq.)
 D       as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides,
         works, is a student, or was convicted of a qualifying offense. (Check, if applicable.)

 D       The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
        If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
Schedule of Payments sheet of this judgment.
         The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.

                                            STANDARD CONDITIONS OF SUPERVISION
    1)     the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)       the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
  3)       the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4)       the defendant shall support his or her dependents and meet other family responsibilities;
  5)      the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
          acceptable reasons;
    6)     the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
    7)    the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
          controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
  8)       the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9)      the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a
          felony, unless granted permission to do so by the probation officer;
 10)      the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
          contraband observed in plain view of the probation officer;
 11)       the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
 12)      the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
          permission of the court; and

  13)      as directed by the probation officer, the defendant shall notify third parties ofrisks that may be occasioned by the defendant's criminal
           record or Rersonal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
           defendant s compliance with such notification requirement.
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AO 2458   (Rev. 09/11) Judgment in a Criminal Case
          Sheet 3C - Supervised Release
                                                                                           Judgment-Page          of
DEFENDANT: WILLIAM FRANKLIN THOMPSON
CASE NUMBER: 4:13CR00224-01 BSM

                                        SPECIAL CONDITIONS OF SUPERVISION
 1. Thompson shall participate, under the guidance and supervision of the probation officer, in a substance abuse
 treatment program which may include testing, outpatient counseling, and residential treatment. Further, Thompson shall
 abstain from the use of alcohol throughout the course of treatment.

 2. Pursuant to the Mandatory Victims Restitution Act of 1996, Thompson is ordered to pay restitution to the U.S. District
 Clerk. Restitution shall be disbursed to West Side Pharmacy, 620C West South Street, Benton, Arkansas 72015 in the
 amount of $979.63 and to Cincinnati Insurance Company, P.O. Box 14529, Cincinnati, Ohio 45250-0529 in the amount of
 $61,906.79. Restitution shall be joint and several with any other person who has been or will be convicted on an offense
 for which restitution to the same victim on the same loss is ordered. During incarceration, Thompson will pay 50 percent
 per month of all funds that are available to him. During residential re-entry placement, payments will be reduced to 10
 percent of Thompson's gross monthly income. Beginning the first month of supervised release, payments will be 10
 percent per month of Thompson's monthly gross income. The interest requirement is waived.

 3. Thompson will disclose business and personal information including all assets (including unexpected financial gains)
 and liabilities to the probation office. Thompson will not transfer, sell, give away, or otherwise convey any asst without
 approval from the probation office.

 4. Thompson will not make application for any loan or enter into any credit arrangement without approval from the
 probation office unless all criminal penalties have been satisfied.
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AO 2458    (Rev. 09/11) Judgment rn a Criminal Case
           Sheet 5 - Cnmmal Monetary Penalttes
                                                                                                     Judgment - Page          of
DEFENDANT: WILLIAM FRANKLIN THOMPSON
CASE NUMBER: 4:13CR00224-01 BSM
                                               CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.


                       Assessment                                        Fine                               Restitution
TOTALS             $ 100.00                                            $ 0.00                            $ 62,886.42


D The determination of restitution is deferred until           _ _ _ . An Amended Judgment in a Criminal Case (AO 245C) will be entered
     after such determination.

 ~ The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

     If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
     the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664li), all nonfederal victims must be paid
     before the United States is paid.

Name of Payee                                                             Total Loss*          Restitution Ordered Priority or Percentage
  West Side Pharmacy

  620C West South Street

  Benton, Arkansas 72015                                                                                   $979.63

  Cincinnati Insurance Company

  P.O. Box 14529

  Cincinnati, Ohio 45250-0529                                                                            $61,906.79




TOTALS                               $                          0.00         $~~~~~62_,_88_6_.4_2_


 D    Restitution amount ordered pursuant to plea agreement $
                                                                        -----------

 D    The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
      fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
      to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

 'i/ The court determined that the defendant does not have the ability to pay interest and it is ordered that:
     'i/ the interest requirement is waived for the D fine 'i/ restitution.
      D the interest requirement for the              D fine     D restitution is modified as follows:


 * Findings for the total amount of losses are required under Chapters 109A, 110, llOA, and 113A of Title 18 for offenses committed on or after
 September 13, 1994, but before April 23, 1996.
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AO 2458    (Rev. 09/11) Judgment in a Cnminal Case
           Sheet 6 - Schedule of Payments

                                                                                                               Judgment - Page        6     of           6
DEFENDANT: WILLIAM FRANKLIN THOMPSON
CASE NUMBER: 4:13CR00224-01 BSM

                                                      SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

A     ri{ Lump sum payment of$ _1O_O_._O_O_ _ __ due immediately, balance due
                 not later than                                      , or
                 in accordance           DC,         DD,        D      E,or     ~ Fbelow; or

B     D Payment to begin immediately (may be combined with                    oc,         D D,or        D F below); or
C     D Payment in equal                             (e.g., weekly, monthly, quarterly) installments of $                             over a period of
                           (e.g., months or years), to commence                        (e.g., 30 or 60 days) after the date of this judgment; or

D     D    Payment in equal                          (e.g., weekly, monthly, quarterly) installments of $                          over a period of
                           (e.g., months or years), to commence                        (e.g., 30 or 60 days) after release from imprisonment to a
           term of supervision; or

 E    D Payment during the term of supervised release will commence within                    (e.g .. 30 or 60 days) after release from
           imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F     r.J/ Special instructions regarding the payment of criminal monetary penalties:
            During incarceration, Thompson will pay 50 percent per month of all funds that are available to him. During
            residential re-entry placement, payments will be reduced to 1O percent of Thompson's gross monthly income.
            Beginning the first month of supervised release, payments will be 1O percent per month of Thompson's monthly
            gross income. Restitution shall be joint & several with any other person who has been or will be convicted on an
            offense for which restitution to the same victim on the same loss is ordered. The interest requirement is waived.

 Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due during
 imprisonment. All cnminal monetary penalties, except those payments made through the Federal Bureau of Pnsons' Inmate Financia1
 Responsibility Program, are made to the clerk of the court.

 The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




 rJ/ Joint and Several
      Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
      and corresponding payee, if appropriate.
       4: 13cr00224-01 William Franklin Thompson; 4: 13cr00224-02 James Jubilee Owens; and 4: 13cr00224-03 Joseph Louis
       Thurlow



 D    The defendant shall pay the cost of prosecution.

 D    The defendant shall pay the following court cost(s):

 D    The defendant shall forfeit the defendant's interest in the following property to the United States:




 Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
 (5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
